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                                              EXHIBIT A
 REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF MOTION OF DEFENDANTS WARRIOR
 TRADING, INC. AND ROSS CAMERON FOR JUDGMENT ON THE PLEADINGS; OR, IN THE
                                    ALTERNATIVE, TO STAY THE PRESENT CASE
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                                   NEWFANE DESIGN, INC.


                                     Shareholder Agreement

                 This     Agreement         ("Agreement")     is   made    on                    at
  Phv*T«i/>g/ /T"         . by and among NEWFANE DESIGN, INC., a                          Vermont
  corporation (the "Company"), and the undersigned holders of shares of
                                                                        common stock
  (collectively, the "Shareholders"), with respect to all shares of the
                                                                        Company's capital
  stock now or hereafter outstanding, for the purpose of protecti
                                                                 ng the Company and the
  Shareholders, as well as providing continuity for the Company's business
                                                                           in the event of
  the occurrence      of certain   events    discussed   in this Agreement.     Collectively,   the
  Shareholders together own all outstanding shares of the Company's stock.

                 1.       Share Certificate Legend Requirement. Until a termination of this
  Agreement pursuant to the provisions herein, at which time, at
                                                                        the expense of the
  Company, a new certificate shall be issued to holders of shares represen
                                                                           ted by certificates
 removing the following legend, the certificates representing shares
                                                                     of capital stock of the
 Company (whether presently owned or subsequently issued) held
                                                               at any time by the
  Shareholders or their respective authorized transferees subject to
                                                                     this Agreement shall
 bear the following legend:


         "The shares of stock represented by this certificate, including
                                                                         their sale,
         transfer, hypothecation, encumbrance, or disposition, .are restricte
                                                                             d by
         the provisions of a Shareholder Agreement dated                    (as may be
         amended ffom time to time). All provisions of the Shareho
                                                                            lder
         Agreement are incorporated by reference in this certificate. A copy
                                                                              of
         the   Agreement    may    be   inspected    at the   principal   office of the
         Company."

 A copy of this Agreement shall be delivered to the Secretary
                                                              of the Company, and shall
 bo shown to anyone inquiring about it.


               2.    Electio:  Directors. Pursuant to the Articles of Incorporation (the
 "Articles") and Bylaws of the Company the number of
                                                            directors to comprise the
 Company's Board of Directors (the "Board") has been fixed
                                                           at three (3). Each
 Shareholder hereby agrees that from and after execution of this
                                                                 Agreement and until the
 termination of this Agreement, such Shareholder will vote all shares
                                                                      of the capital stock
 of the Company which are voting shares and any other voting
                                                             securities of the Company
 OYer which such Shareholder has voting control or are owned
                                                                    by such Shareholder,
 beneficially or of record, on the record date fixed for a determi
                                                                        nation of those
 Shareholders entitled to vote in any election of directors of the Compan
                                                                          y, or will cause
 such shares to be voted and shall take all other necessary or
                                                               desirable actions within such
 Shareholder's control (including in his or her capacity as a shareho
                                                                      lder, director, member
 of a board committee or officer of the Company or otherwis
                                                             e, and including, without
 limitation, attendance at meetings in person or by proxy for
                                                              purposes of obtaining a
 quorum and execution of written consents in lieu of meeting
                                                             s), and the Company shall




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  take all necessary or desirable actions within its
                                                     control (including, without limitation,
  calling special Board and Shareholder meetings), so that:

                        a.      The authorized number of directors on the Board
                                                                                be
  established and remain at three (3) directors;


                          b.      There shall be elected to the Board (i) two person
                                                                                    s
  nominated by ROSS CAMERON; and (ii) one person
                                                 nominated by JEFF FORTIS.

                3.    Action by Directors. Any representative of any Shareh
                                                                             older or
  who shall serve as a member of the Board shall have
                                                       full authority to exercise his
  discretion and business judgment to perform his duty as
                                                          a director and shall incur no
  special obligation or liability to any party hereto as a result
                                                                  of such exercise,

                 4.      Irrevocable Proxy. The Shareholders shall, concurrently
                                                                                 with the
  execution of this Agreement, deliver to the Company an irrevoc
                                                                   able proxy in the form
  attached hereto as Exhibit "A" entitling the Company's chief
                                                               executive officer to vote the
  Shareholders' shares in the event that such Shareholder
                                                          refuses or is unable to vote his or
 its shares in the manner required by this Section 2 above.


               5.     Restrictions on Voluntary Transfers. Except as
                                                                           provided for in
 Paragraph 7 below, no Shareholder shall sell, transfe
                                                       r, pledge, encumber, hypothecate, or
 in any way dispose of any of his or her shares or
                                                     any right or interest in them without
 obtaining prior written consent of the Company and of
                                                        all other Shareholders (other than
 as provided for in Paragraph 7 below), unless (a) the
                                                       proposed transfer is made in Good
 Faith (as such term is defined below), (b) the consideration
                                                                for the transfer is cash only,
 (c) the Shareholder shall first have given written notice ("Offe
                                                                  r Notice") to the Company,
 in accordance with Paragraph 14(e) of this Agreement,
                                                       of his or her intention to do so,
 and (d) confirmation acceptable to the Company that
                                                       the proposed transfer will not affect
 the tax status of the Company. A transfer shall be deeme
                                                           d to not be in Good Faith where
 the proposed transferee is any party that (i) is,
                                                   or has ever been, in direct or indirect
 competition or negotiation with Company, (ii) is a
                                                     supplier, vendor, service provider, or
 service recipient of Company, (iii) has a record
                                                     of felony conviction, or (iv) would
 reasonably be determined to adversely affect the Comp
                                                         any's business or reputation were
 such party to be a co-owner of Company. The
                                                     notice shall be accompanied by an
 executed counterpart of any document of transfe
                                                   r, which must include the name and
 address of the proposed transferee and specify the numbe
                                                          r of shares to be transferred, the
 price per share, the term of payment, and evidence of
                                                       availability of funds in accordance
 with the consideration offer terms (e.g., current bank statem
                                                               ent, certificate of deposit, or
 the like). Promptly on receipt of the notice, the Secret
                                                         ary of the Company shall forward a
 copy of die notice and the executed counterpart to
                                                    each member of the Company's Board,
 and within 20 days diereaffer a meeting of the board
                                                      of directors shall be duly called,
 noticed, and held to consider the proposed transfer.


                Should the proposed transfer violate provision 5(a),
                                                                     5(b), 5(c) and/or 5(d)
 above, the proposed transfer shall be deemed null
                                                   and void by its terms ("Void



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  Proposal"), the secretary of the Company shall give written notice of that fact to the
 offering Shareholder, and no further consideration or action shall be required by the
  board. As to any proposal other than a Void Proposal, for 45 days following notice to the
  Company, the Company shall have the option, but not the obligation, to purchase all or
  any part of the shares at the price and on the terms stated in the notice and any
 accompanying transfer document(s), or at a price determined in the same manner as
  provided in Paragraph 10(a) of this Agreement, whichever price is lower. The Company's
 right to exercise the option and to purchase the stock Is subject to any applicable
 governmental or statutory restrictions that are now, or may become, effective.

                 If the Company exercises the option within the 45-day period, the
 secretary of the Company shall give written notice of that fact to the offering
 Shareholder. The Company shall pay the purchase price in the manner provided in the
 Agreement/terms of sale to the proposed transferee or as may be set forth in the transfer
 document(s) accompanying the notice.

                If the option is not exercised by the Company on all shares set forth in the
 notice of intention to transfer within the 45-day period, notice of the proposed transfer in
 the same form as the notice given to the Company shall be given by the offering
 Shareholder in accordance with Paragraph 14(e) to the remaining Shareholders (such
 notice to be given immediately after the expiration of the Company's 45-day period,
                                                                                     and
 in any event no later than within 14 days of such expiration), who shall have the option,
 but not the obligation, to purchase any shares not purchased by the Company at the price
 and on the same terms and conditions specified in the notice and any accompanying
 transfer documents. Within 20 days after receiving the notice, any Shareholder desiring to
 acquire any part or all of the shares offered shall deliver to the secretary of the Company
 a written election to purchase the shares or a specified number of them, if the total
 number of shares specified in the elections exceeds the number of available shares,
                                                                                       each
 Shareholder shall have priority, up to the number of shares specified in his or her notice
 of election to purchase the available shares, in the same proportion that the number of
                                                                                         the
 Company's shares that he or she holds, bears to the total number of the Company's shares
 held by all Shareholders electing to purchase. The shares not purchased on such a priority
 basis shall be allocated in one or more successive allocations to those Shareholde
                                                                                         rs
 electing to purchase more than the number of shares to which they have priority right, up
 to the number of shares specified in their respective notices, in the proportion that the
 number of shares held by each of them bears to the number of shared held by all of them.


                Within 30 days after the mailing of the notice to the Shareholders, the
 secretary of the Company shall notify each Shareholder of the number of shares
                                                                                as to
 which his or her election was effective, and the Shareholder shall meet the terms and
 conditions of the purchase within 1 0 days thereafter.


                 If the Company and the remaining Shareholders do not purchase all the
 shares set forth in the notice of intention to transfer, all the shares may be transferred to
 the proposed transferee on the terms specified in the notice, at any time within 30
                                                                                     days
 after expiration of the Shareholders' Options. The transferee will hold the shares subject



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 to the provisions of this Agreement. No transfer of the shares shall be made after the end
  of the 30-day period, nor shall any change in the terms of transfer be permitted without a
  new notice of intention to transfer and compliance with the requirements of this
 paragraph.


                 Any transfer by any shareholder in violation of this paragraph, including
  but not limited to the timelines set forth herein, shall be null and void and of no effect.

                6.       Pledge. Hypothecation or Other Encumbrances. No Shareholder
 may pledge, hypothecate, or otherwise encumber his or her shares as security for any
 debt,


                 7.      Permitted Transfers. Notwithstanding anything in this Agreement
 to the contrary, any Shareholder may transfer shares subject to this Agreement only if the
 transfer will not affect the tax status of the Company and only as follows: (a) to a trust for
 the sole benefit of the transferee, provided that the transferee is the settlor and a trustee of
 the trust; or (b) to a corporation or other legal entity in which transferee retains 100%
 voting control. Any permitted transferee(s) shall hold the shares subject to all provisions
 of this Agreement, as provided in Paragraph 8.

                8.      Qblieation    of Transferees.    Unless    this   Agreement   expressly
 provides otherwise, each transferee or any subsequent transferee of shares in the
 Company (including any transferee under Paragraph 5 or Paragraph 7, above), or any
 interest in such shares, shall hold the shares or interest in the shares subject to all
 provisions of this Agreement (as may be amended) and shall make no further transfers
 except as provided in this Agreement (as may be amended). Transfer of the shares shall
 not be entered on the books of the Company until the prospective transferee has executed
 an amended copy of this Agreement (with such amendments being made to maintain
                                                                                and
 preserve the intent of this Agreement and of its provisions), and the appropriate
 supporting documents are provided as follows:


                          a. In the case of a transfer to a trust for the sole benefit of
 transferee under Paragraph 7(a), a full copy of the executed trust instrument, for review
 and retention by the Company.


                            b.   In the case of a transfer to a corporation or other legal
 entity under Paragraph 7(b), the appropriate legal records showing formation of the
 entity, governmental filings (including securities filing, where required), organizational
 minutes, stock transfer ledger (share register), shareholder agreement, buy/sell
 agreement,   identity of all owners (including their address and phone numbers),
 capitalization table (current, and on a fully-diluted basis), and any other document
                                                                                      that
 may be reasonably required by the Board under the specific circumstances at hand.


                In all cases, no transfer shall take place until and unless (i) all supporting
 documents have been delivered to Company; (ii) such supporting documents comply with
 the requirements above and are not inconsistent with them in any way; (iii) at least
                                                                                      30




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  calendar days have passed since all supporting documents listed or
                                                                      requested have been
  provided to the Company; and (iv) the amended copy of this Agreem
                                                                         ent (as discussed
  above) has been signed and provided to the Company. Failure
                                                                or refusal to sign such an
  amended copy of this Agreement shall not relieve any transfer
                                                                 ee from any obligations
  under this Agreement.


                 9.       Purchase Events

                             a.   Purchase on Violation of Terms: A Shareholder's violation
  of any material provision contained in this Agreement that remains
                                                                       uncured for a period
  of at least thirty (30) days from the date a Shareholder or the
                                                                   Company gives written
  notice of such breach ("Notice of Breach") to the breaching Shareh
                                                                        older in accordance
  with Paragraph 14(e) (unless the nature of the breach is such
                                                                    that it cannot be cured
  within said 30-day period, then the breaching Shareholder shall
                                                                  have such additional time
  as may be reasonably necessary to cure the breach, provided
                                                                   that the curing of such
  breach is begun promptly and is pursued with diligence) shall
                                                                 trigger an optional buy-
  back of such breaching Shareholder's stock. At the conclus
                                                               ion of the 30-day period
  following the Notice of Breach, the Company shall give written
                                                                   notice to the breaching
  Shareholder of the    buy-back    option   ("Notice of Buy-Back")    in accordance    with
 Paragraph 14(c). Such notice shall deem the breaching Shareh
                                                              older to have offered to sell
  his or her shares at the price and on the terms provided in this
                                                                   Agreement. The Company
 and the other Shareholders shall have the option for 90 days
                                                              following the Notice of Buy-
 Back to purchase all or any part of the shares owned by
                                                                the breaching Shareholder,
 irrespective of whether or not a correction of the breach has
                                                               taken place since the Notice
 of Buy-Back was given. The option shall be exercisable
                                                                first by the Company and
 thereafter by the remaining Shareholders, as follows:


                The Company shall have the option, for a period comme
                                                                           ncing with the
 date of the Notice of Buy-Back and ending on the 45* day
                                                            thereafter, to purchase all or
 any part of the shares owned by the breaching Shareholder,
                                                            at the price and on the terms
 provided in this Agreement. The option shall be exercis
                                                            ed by giving notice to the
 breaching Shareholder in accordance with Paragraph 14(e).
                                                            If the option is not exercised
 within that 45 day period for all of the shares owned by the
                                                              breaching Shareholder, the
 remaining Shareholders shall have the option, for 45 days
                                                           commencing with the end of
 the Company's 45 day period to purchase all or any part
                                                           of the shares owned by the
 breaching Shareholder, at the price and on the terms provide
                                                              d in this Agreement. The
 option shall be exercised by giving notice, in accordance with
                                                                Paragraph 14(e), to the
 breaching Shareholder, stating the number of shares being
                                                           purchased. If notices of
 exercise from the remaining Shareholders specify in the
                                                         aggregate more shares than are
 available for purchase by the Shareholders, each Shareholder
                                                              shall have priority, up to the
 number of shares specified in his or her notice, to purchas
                                                             e the available shares in the
 same proportion that the number of the Company's
                                                  shares he or she holds bears to the
 number of the Company's shares held by all Shareholders
                                                                 electing to purchase. The
 shares not purchased on such a priority basis shall be allocate
                                                                d in one or more successive
 allocations to those Shareholders electing to purchase more
                                                             than the number of shares to
 which they have a priority right, up to the number of shares
                                                              specified in their respective



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  notices, in the proportion that the number of
                                                  shares held by each of them bears to the
  number of shares held by all of them. In the event
                                                       this option is not exercised as to all the
  shares owned by the breaching Shareholder,
                                                    the breaching Shareholder or breaching
  Shareholder's successor in interest will continue
                                                     holding such remaining shares subject to
  the provisions of this Agreement.


                               b. Purchase on Criminal Conviction or Certain
                                                                             Misconduc t. A
  Shareholder who is (i) convicted of a felony or
                                                  (ii) engages in willful misconduct (which
  shall mean the knowing and intentional failure
                                                    to exercise ordinary care to prevent
  material injury to the Company or an inten
                                             tional act with knowledge that it is likely to
  result in material injury to the Company),
                                               fraudulent activities, conflicts of interest,
  personal dishonesty, breach of fiduciary  duty to the Company or Shareholders, sexua
  harassment, or willful violation of the law                                            l
                                               (other than a violation of a traffic law or
  similar minor offense), where any such behavior
                                                  in any manner adversely affects the
  Company's    business   or       reputation,   shall      trigger   an    optional   buy-back
                                                                                     such           of
  Shareholder's stock. In the event any Share
                                              holder has been convicted of a felony or
  engaged in a manner prohibited by this                                               has
                                               paragraph, such Shareholder, his personal
  representative, or any other Shareholder shall
                                                 give written notice to the Company and all
  Shareholders in accordance with Parag
                                            raph 14(e) ("Notice of Buy-Back"). By
  notice, the offending Shareholder shall be                                             such
                                             deemed to have offered to sell his or her
                                                                                       shares
 at the price and on the terms provided in
                                           this Agreement. The Company and the other
 Shareholders shall have the option for 90 days
                                                 following notice of any such event(s) to
 purchase all or any part of the shares owne
                                             d by the Shareholder. The option shall be
 exercisable first by the Company and there
                                             after by the remaining Shareholders in the
 manner provided by Paragraph 9(a) above
                                         . In the event this option is not exercised
                                                                                     for all
 the shares owned by the offending Share
                                             holder, the offending Shareholder or the
 offending Shareholder's successor in interest will
                                                    continue holding such remaining shares
 subject to this Agreement.


                              c.    Purchase     on       Certain   Other   Events.    In
                                                                                       any  the   event
 Shareholder Is adjudicated a bankrupt, wheth
                                              er voluntarily or involuntarily, or makes
 assignment for the benefit of creditors, or files                                      an
                                                   a petition seeking to force the involuntary
 winding up and dissolution of the Comp
                                            any, or if substantially all property of
                                                                                     any
 Shareholder is levied on and sold in a judic
                                              ial proceeding, the Company and the other
 Shareholders shall have the option for 90 days
                                                following notice of any such event(s)to
 purchase all or any part of the shares owne
                                             d by the Shareholder. Any Shareholder who
 has information that would reasonably cause
                                                the Shareholder to believe that his or her
 shares would be transferred involuntarily or
                                              by operation of law, or upon the happening
 of any of the above described events, shall
                                              give written notice to the Company and the
 other Shareholders in accordance with Parag
                                             raph 14(e) ("Notice of Buy-Back"), and shall
 offer or shall be deemed to haye offered
                                          to sell his or her shares at the price and
                                                                                     on the
terms provide in this Agreement (If no
                                       notice is given by the Shareholder, the
                                                                               Comp      any
or any other Shareholder may give such
                                         notice in lieu thereof, and such notice will
                                                                                        then
constitute the "Notice of Buy-Back").
                                          The option shall be exercisable first by
Company and thereafter by the remaining                                                  the
                                               Shareholders in the manner provided by
Paragraph 9(a) above. In the event this optio
                                              n is not exercised as to all the shares owne
                                                                                           d



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   by the Shareholder, the Shareholder or Shareholde
                                                       r's successor in interest will continue
   holding such remaining shares subject to this Agree
                                                       ment.

                             d. Purchase on Death. The Company shall have
                                                                               the option, for
  a period commencing with the death of any Share
                                                        holder and ending 90 days after the
  death, to purchase all or any part of the shares owne
                                                       d by the decedent, at the price and on
  the terms provided ill this Agreement. The option
                                                    shall be exercised by giving notice to
  the decedent's estate or other successor in
                                              interest in accordance with Paragraph 14(e).
                                                                                           If
  the option is not exercised within that 90-da
                                                  y period as to all shares owned by the
  decedent, the surviving Shareholders shall have
                                                  the option, for 30 days commencing with
  the end of that 90-day period to purchase all
                                                  or any part of the shares owned by the
  decedent, at the price and on the terms provid
                                                 ed in this Agreement. The option shall be
  exercised by giving notice, in accordance
                                               with Paragraph 14(e), to the executor or
  administrator, stating the number of shares to which
                                                       it is exercised. If notices of exercise
  from the surviving Shareholders specify in the
                                                 aggregate more shares than are available
  for purchase by the Shareholders, each Shareholde
                                                    r shall have priority, up to thenumber
  of shares specified in his or her notice, to
                                               purchase the available shares in the same
  proportion that the number of the Company's
                                                shares he or she holds bears to the number
  of the Company's shares held by all Share
                                            holders electing to purchase. The shares not
  purchased on such a priority basis shall be
                                              allocated in one or more successive alloca
                                                                                         tions
 to those Shareholders electing to purchase
                                            more than the number of shares to which they
 have a priority right, up to the number of
                                            shares specified in their respective notices,
                                                                                          in
 the proportion that the number of shares
                                            held by each of them bears to the number
                                                                                          of
  shares held by all of them. In the event this
                                                option is not exercised as to all
                                                                                the shares
 owned by the decedent, the decedent's estate
                                              will hold those shares, and such shares shall
  inure to the benefit of heirs, subject to the provis
                                                      ions of this Agreement.

                           e. Purchase on Termination of Employme
                                                                   nt. In the event any
 employee Shareholder is no longer emplo
                                           yed by the Company because of voluntary
 termination, or termination by the Company
                                             for Cause (the term "Cause" as defined in
 the then applicable employment agree
                                      ment between Company and the releva
                                                                         nt employee
 Shareholder, except that irrespective of such
                                               definition, it shall not include physical
 and/or mental disability), the Company and
                                             the remaining Shareholders shall have the
 option for 90 days following notice of any
                                            such event(s) to purchase all or any pari
                                                                                      of the
 shares owned by the terminated employee
                                            Shareholder. "Notice of the triggering event
 shall be given to the Company and the other
                                             Shareholders in accordance with Paragraph
 14(e) ("Notice of Buy-Back"). The option shall
                                                be exercisable first by the Company and
 thereafter by the remaining Shareholders in
                                              the manner provided by Paragraph 9(a)
 above. In the event this option is not exerc
                                             ised as to all the shares owned by the
 terminated employee Shareholder, the
                                          terminated employee Shareholder or the
 terminated employee Shareholder's succe
                                         ssor in interest will continue holding such
 remaining shares subject to this Agreement.

                Notwithstanding anything to the contrary in
                                                               this Agreement or applicable
 laws, and to the fullest extent permissible under
                                                   the law, an employee Shareholder whose




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  employment terminates because of termination by the
                                                      Company for cause at any time,
  shall forfeit any and all shareholder rights immediatel
                                                          y upon termination of employment.

                                   f.    Purchase on Total Disability. If any Shareholder
                                                                                          (whether
  or not an employee Shareholder) becomes physically
                                                     or mentally incapacitated (as
  defined below    ) For more than one-hundred-twenly (120) days during
                                                                        any rolling 365 day
  period (whether or not consecutive) ("Incapacity" or
                                                       "Incapacitated") (such initial 120
  day period defined herein as "Period of Initial Incap
                                                        acity"), and which Incapacity is
  likely in the opinion of a physician ("Designated Physi
                                                         cian") mutually designated by the
  incapacitated Shareholder, or his personal repres
                                                    entative or agent, and the Company, to
  persist for an additional ninely (90) days or more
                                                     beyond the Period of Initial Incapacity
  (such detennination made no earlier than the end
                                                   of the Period of Initial Incapacity), the
  Company and the remaining Shareholders shall have
                                                    the option for 90 days following the
  physiciandetermination ("Buy Back Period") to purchase all
                                                               or any part of the shares
  owned by the incapacitated Shareholder. Notice shall
                                                       be given to the Company and the
  other Shareholders in accordance with parag
                                              raph 14(e) ("Notice of Buy-Back"). The
  option shall be exercisable first by the Company
                                                   and thereafter by the remaining
 Shareholders in the manner provided by Paragraph
                                                   9(a) above. In the event this option is
 not exercised as to all the shares owned
                                                by the incapacitated Shareholder, the
 incapacitated Shareholder or the incapacitated
                                                Shareholder's successor in interest will
 continue holding such remaining shares subjec
                                               t to this Agreement.


                   A Shareholder shall be deemed Incapacitated where
                                                                     (a) the person       is
 unable to provide properly for that person's own
                                                  needs for physical health, food, clothing,
 or shelter; to manage substantially that person's
                                                   own financial resources; or to resist fraud
 or undue influence; and/or (b) either a medical docto
                                                        r, board-certified neuropsychologist,
 or a board-certified psychiatrist, not related
                                                   by blood or marriage to any Company
 shareholder, officer, or director, examines such
                                                     person and declares under penalty of
 perjury that such person is either temporarily or
                                                    permanently incapacitated, according to
 generally accepted medical definitions.

                If during the Buy Back Period, but prior to
                                                            a Notice of Buy-Back being
 given,    theDesignated Physician determines that the
                                                             Shareholder is no longer
 Incapacitated, and in the case of an employee
                                               Shareholder such Shareholder in fact fully
 resumes his or her regular duties in Company,
                                               then the Buy Back Period shall be
 termin   ated (subject to any future incapacity, which
                                                        shall trigger this clause anew).

                              g.        Multiple Triggers. Should a trigger for optional
 by the Company and/or Shareholders arise while                                       se purcha
                                                another trigger has already arisen as to
 the same Shareholder (e.g., a Shareholder-emp
                                                  loyee is terminated for cause two weeks
 after the Shareholder's felony conviction), the
                                                      Company and/or Shareholders may
 purchase under either trigger. The first Notice of
                                                    Buy-Back communicated in accordance
 with Paragraph 14(e) shall control, excep
                                          t that a subsequent Notice of Buy-Back shall
control where (i) it is communicated after
                                                 the first Notice of Buy-Back, and (ii)
specifically confirms the intent of it controlling
                                                   and replacing the first notice due to an
additional trigger. In any event, no Notice of
                                               Buy-Back shall be valid unless it is



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   communicated in a timely fashion based on such releva
                                                         nt timelines (if any) as may be
   stated inthis Agreement and as may be applicable to the releva
                                                                 nt trigger.

                              h.            ii                    In all cases where purchase
   of shares is authorized in this Agreement, if the shares
                                                            are in whole or in part a
   comm  unity property asset, then the community property
                                                           interest of the surviving spouse
   is also subject to purchase.

                       10. Purchase Related Provisions

  Valuation. The purchase price per share to be paid
                                                     for shares subject to this Agreement
  shall be determined by dividing the net income of
                                                    the Company for the Company's prior
  fiscal year by the number of outstanding shares issues
                                                         to Shareholders. In determining
  the net income for purposes of valuation, the incom
                                                         e of any shareholders shall be
  normalized to the average income for such shareholders
                                                         over the prior three fiscal years.
  This method shall apply to all valuation including
                                                     but not limited to any "fair value"
  determ inations under applicable law.


                              a,   Payment and Transfer of Shares. On the occurr
                                                                                 ence of any
  event that leads to the purchase of shares under
                                                   this Agreement, the consideration to be
  paid for the shares shall be paid to the transferring
                                                        Shareholder or to his or her estate, as
  the case may be. If the event that leads to the purcha
                                                          se is the death of a Shareholder, the
  Company or the surviving Shareholders shall
                                                     file the necessary proofs of death and
  collect the proceeds of any outstanding insurance
                                                          policies on the life of the deceased
  Shareholder as covered by this Agreement
                                                        (if any). The decedent's personal
  representative shall apply for and obtain any neces
                                                        sary court approval or confirmation of
  the sale of the decedent's shares under this Agree
                                                    ment. In all events, consideration for the
  shares shall be delivered as soon as practicable
                                                         to the person entitled to it, and the
  Secretary of the Company shall cause the certific
                                                    ates representing the purchased shares to
  be properly endorsed and, on compliance with
                                                   any and all provisions in this Agreement
  (including paragraph 1 0(e)), shall issue new certifi
                                                        cate(s) in the name of the purchaser or
  purchasers. If the purchase price exceeds the amou
                                                        nt of insurance proceeds, the purchaser
  or purchasers shall pay the purchase price in
                                                 cash up to the full amount of the insurance
 proceeds and shall pay the balance of the purcha
                                                   se price in cash or under a promissory
 note. If the insurance proceeds exceed the purcha
                                                   se price, the excess shall be paid to the
 insured or the beneficiary of the policy.


                     In the event that a selling Shareholder shall fail
                                                                        to produce or deliver
 the stock certificate or certificates representing
                                                    the share of stock involved, duly endorsed
 for transfer, then the purchase price (consisting of
                                                      cash and/or a promissory note) for the
 shares of stock may be tendered and delivered
                                                   by the purchaser to the secretary of the
 Company for the account and benefit of the
                                                      selling Shareholder, and the selling
 Shareholder shall be notified in writing of that
                                                  action by the purchaser. Such tender and
 delivery shall constitute valid payment for the
                                                  shares of stock, and the purchase of the
 shares shall be deemed thereby to have been fully
                                                   effected, so that all right, title, and
 interest in and to the shares of stock so
                                           purchased shall be considered vested in the




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   purchaser, and all rights of the selling Shareholder, or any
                                                                transferee, assignee, or any
   other person having any interest in those shares of stock, shall cease
                                                                           and terminate except
   only for the right, if any, to receive the purchase price for the stock
                                                                           and the right to have
   the stock deposited to secure the payment of the purchase price.
                                                                           The secretary, as
   attorney-in-fact for and in the name of the selling Shareholder, shall
                                                                          cause the shares of
   stock so purchased to be transferred on the books of the Company
                                                                       to the purchaser. The
   purchase price, as determined and paid in accordance with these terms,
                                                                             shall be payable
  to the selling Shareholder only on delivery of a stock certificate
                                                                     for the shares of stock to
  be purchased, duly endorsed for transfer, together with the payme
                                                                           nt of all costs and
  expenses of the Company incurred in connection with the transac
                                                                      tion. In the event that a
  selling Shareholder shall fail to deliver a stock certificate for
                                                                    the shares of stock to be
  purchased, duly endorsed for transfer, together with the
                                                                  payment of all costs and
  expenses of the Company incurred in connection with the transac
                                                                  tion, and therefore fails
  to collect the purchase price that had been tendered to the secreta
                                                                      ry of the Company for
  180 days from the date the selling Shareholder received notice
                                                                    of such tender, whether
  due to unavailability or for any other reason, and should the purchas
                                                                        er be the Company,
  the secretary of the Company may void any tendered check,
                                                            and keep the debt on its book
  by book entry only until such time, if any, that selling Shareh
                                                                  older complies with the
  requirements herein.


                   Each Shareholder does hereby irrevocably appoint and
                                                                        designate the
  secretary of the Company, and his or her respective
                                                         successor in office, as the
  Shareholder's attorney-in-fact on the Shareholder's behalf,
                                                              and            on behalf of the
  Shareholder's estate and personal representative, to effect
                                                              the transfer of the shares of
  stock on the books of the Company in the manner provided above.

                           b. Notes and Security. To the extent otherwise permissible
                                                                                       by
  the terms of this Agreement, any deferred portion of the purchas
                                                                   e price for any shares
  purchased under this Agreement shall be represented by a promis
                                                                   sory note executed by
  all the purchasing Shareholders, providing for joint and
                                                           several liability. Each maker
  agrees to pay his or her pro-rata portion of each installm
                                                             ent of principal and interest as it
  falls due. The note shall provide for payment of principa
                                                                     l in ten equal quarterly
  installments with interest on the unpaid balance at
                                                                the then applicable average
  commercial lending rate available at commercial banks, with
                                                                   full privilege of prepayment
  of all or any part of the principal at any time without penalty
                                                                  or bonus. Any prepaid sums
  shall be applied against the installments thereafter falling
                                                               due in inverse order of their
  maturity, or against all the remaining installments equally
                                                             , at the option of the payers.
  The note shall provide that if default occurs, at the election of the holder
                                                                               the entire sum of
  principal and interest will immediately be due and payable
                                                             and that the makers shall pay
  reasonable attorney fees to the holder if suit is commenced
                                                              because of default. The note
 shall be secured by a pledge of all the shares being purchas
                                                              ed in the transaction to which
 the note relates and of all other shares owned by the purchas
                                                               ing Shareholders. The parties
 shall agree upon the pledgeholder, and the pledge agreem
                                                           ent shall contain such other
 terms and provisions as may be customary and reasona
                                                      ble. As long as no default occurs
  in payments on the note, the purchasers shall be entitled to
                                                               vote the shares; however,
 dividends shall be paid to the holder of the note as a
                                                        prepayment of principal. The




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  purchasers shall expressly waive demand, notice of
                                                          default, and notice of sale, and they
  shall consent to public or private sale of the shares
                                                         in a default, in mass or in lots at the
  option of the pledgeholder, and the seller shall have
                                                        the right to purchase at the sale.

                            c. Administrative Approvals. The Company agree
                                                                                  s to apply
  for, and use its best efforts to obtain, all governmen
                                                            tal and administrative approvals
  required in connection with the purchase and sale
                                                       of shares under this Agreement. The
  Shareholders agree to cooperate in obtaining the
                                                      approvals and to execute any and all
  documents that they may be required to execute
                                                     in connection with the approvals. The
  Company shall pay all costs and filing fees in conne
                                                       ction with obtaining the approvals.

                      11. Termination. This Agreement shall terminate
                                                                            on the earlier of (a)
  the written agreement of the Company and
                                                       all Shareholders, (b) the dissolution,
  bankruptcy, or insolvency of the Company, (c)
                                                        at such time as only one Shareholder
  remains, (d) the effective date of the first registration
                                                            statement filed under the Securities
  Act  of 1933 (as amended, the "Securities Act")
                                                  , with the Securities and Excha   nge
  Commission relative to the Company's equity
                                              securities, with aggregate net proceeds to
  the Company of more than $1,000,000 at
                                         a pre-offering valuation of more than
  $5,000,000 (a "QIPO") or (c) upon the occur
                                               rence of the merger or consolidation of the
  Company into, or the sale of all or substantial
                                                  ly all of the Company's assets to another
  corporation, unless the shareholders of the Comp
                                                   any shall own at least 5 1 % of the capita
                                                                                          l
  stock of such other corporation immediatel
                                             y after such merger, consolidation or sale (a
  "M&A").


                     12. Shareholder Will. Each Shareholder agrees to
                                                                      include in his or  her
  will a direction and authorization to his or her
                                                   executor to comply with the provisions of
 this Agreement and to sell his or her shares in
                                                 accordance with this Agreement. However,
 the failure of any Shareholder to do so shall not
                                                   affect the validity or enforceability of this
 Agreement.


                   13. Draiz-Along Obligation. Until the date of
                                                                 a QIPO, if one or more
 Shareholders intend to make a Control Trans
                                              fer (as defined below) for consideration to
 any person or entity or group of related
                                          persons or entities, wherein such one or
                                                                                   more
 Shareholders collectively own directly or bene
                                                   ficially at least 70% of the outstanding
 capital stock of the Company on a fully-diluted
                                                      basis, then upon notice to each non-
 transferring Shareholder, the transferring Share
                                                  holder(s) (for purposes of this Section 13,
 the "Dragging Shareholder) may cause each
                                                   non-transferring Shareholder to sell the
 shares of the Company owned by it as provid
                                             ed in this Section 13.             The Dragging
 Shareholder will notify each non-transferring
                                               Shareholder in writing (the "Drag-Along
 Notice") of such intended transfer and the
                                              exercise of its rights hereunder at least thirty
 (30) days prior to the proposed date for the
                                              consummation of such transfer, which notice
 will contain all of the material terms of the
                                                transfer, including, without limitation, the
 name and address of the prospective purchaser(s
                                                   ), the type and number of shares of the
 Company's stock to be sold, the purchase
                                                price and other terms and conditions of
 payment (or the basis for determining the purch
                                                 ase price and other terms and conditions).
 The non-transferring Shareholders will be requir
                                                  ed to sell all of the shares of Common




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    Stock of the Company owned by such
                                       non-transferring Shareholders. " Con
    means a sale,                                                           trol Transfer "
                  exchange or other transfer by one
                                                     or more Shareholders pursuant to
   private sale or other transaction                                                   a
                                     or series of transactions (other than
   registered public offe                                                  pursuant to a
                          ring) of an aggregate of
                                                 more than ninety percent (90%) of
   outstanding shares of the Company                                                     the
                                     to any person or entity. Any transfer
   Section 13 will be                                                      purs uant to this
                       on tbe same terms and conditions, and
                                                               for the same consideration per
   share, as the transfer by the Dragging
                                          Shareholder that is the subject matter
   Along Notice. Notwithstanding the                                             of the Drag-
                                         foregoing, no Shareholder may exer
   along rights                                                                cise  its drag-
                under this Section 13 in a transactio
                                                      n with an affiliate of such Sharehol
   unless the purchase price for each                                                      der
                                       share of the Company's stock is equa
   could be obtained                                                           l to that which
                      in an arms' length transaction.


                      14. Miscellaneous Matters.


                            a. Agreement to Perform Necessar
                                                                   y Acts. Each party to this
   Agreement agrees to perform any furth
                                         er acts and execute and deliver any
   may be reasonably necessary to carry                                       documents that
                                        out the provisions of this Agreement.

                           b. Amendments. The provisions
                                                                 of this Agreement may be
  waived, altered, amended, or repealed
                                        , in whole or in part, only on the writt
  ailparties to this Agreement.                                                  en consent of


                                 c.   Successors and Assigns. This Agre
  on and enforceable by and agai                                ement shall be binding
                                 nst the parties to it and their resp
  representatives, successors, and assig                             ective heirs, legal
                                         ns.

                             d.
  divisible, and if any part is held inva
                                          lid, the remaining provisions shall
  force and effect.                                                           continue in flill


                             e.       Notices.   All    notices,   request,   dem
                                                                            ands, and other
 communications under this Agre
                                    ement shall be in writing and shal
 been duly given on the date of serv                                     l be  deemed to have
                                      ice if served personally on the part
 to be given, or within 72 hours after                                     y to whom notice is
                                         mailing, if mailed to the party to
 be given, by first-class mail, regis                                        whom notice is to
                                     tered or certified, postage prepaid,
                                                                            properly addressed
 to the party at the address set forth
                                       on the signature page of this Agre
                                                                         ement, or any other
 address that a party may designate by written
                                               notice to the others, with proof of
 obtained.                                                                         receipt


                            f.
 any action, suit, counterclaim or
                                   appeal for any relief against the
 arbitration), declarat                                              other (including
                      ory or otherwise, to enforce the
                                                          terms hereof or to declare rights
 hereunder (collectively, an "Action"
                                      ), it is the express intent of the
                                                                         parties that neither
 party, regardless of who is deemed prev
                                         ailing,   shall be entitled to recover as part of any
 such Action its attorneys' fees and
                                     costs, including any fees and costs
                                                                          incurred in bringing




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   and prosecuting such Action and/or enfo
                                           rcing any order, judgment, ruling or
   grant                                                                        award
        ed as part of such Action.

                             g. Governing Law. Jurisdiction, and Venu
                                                                       e. The laws of the
   State of Vermont shall govern the terms
                                             of this Agreement without reference to
   choice of law principles thereof. Any contr                                          the
                                              oversy or claim arising out of or relating
   this Agreement, Or breach thereof, shall be                                           to
                                               settled by binding arbitration to be held
   Vermont                                                                               in
              or such other agreed to location. Judg
                                                    ment upon the award rendered by the
   arbitrators may be entered in any court
                                               having jurisdiction thereof. The partie
   accordance with Arbitrator rules, shall                                             s, in
                                           select arbitrators with qualifications and
   withi                                                                              expertise
        n the field of dispute. Each party shall have
                                                      the ability in their sole discr
                                                                          etion to veto
  the selection of one (1) arbitrator
                                     , in which case Arbitrator shall
                                                                      offer alternative
  selection. Each party shall have the right
                                             of discovery as set forth in the Federal
  Civil Procedure. Arbitrator shall adm                                               Rules of
                                           inister the arbitration. The administr
                                                                                   ative fees
  associated with these proceedings shall be
                                             shared equally by the parties. No attorney
  or costs shall be recoverable, as prov                                                fees
                                         ided for above.


                           h. Counterparts. This Agreement may
                                                                  be executed in one or
  more counterparts, each of which shall
                                         be deemed an original, but all of whic
  shall constitute one and the same instrument                                  h together
                                              .

                              i.   Entire Agreemen
                                                t. This Agreement constitutes the entire
  agreement between the parties hereto with
                                            respect to the subject matter hereof.

                      15. Additional Terms. As material cons
                                                             ideration and induc      ement to
  enter this Agreement, the parties adopt
                                              all terms on the attached Exhibit "B"
  explicit intent that such terms shall gove                                            with the
                                             rn their actions as shareholders and other
                                                                                        wise.

                                     [Signature Page Follows]




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                                                                           https://mail.google.com/__/scs/mail-static/_/js/k=
                                                                                                                             ffgrnail.main.cn.93i

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                IN WITNESS WHEREOF, the parties have executed
                                                              this Agreement as of the date first
                shown above.



                                                      COMPANY

                NEWFANE             iN, INC.

                By:
               Namc: RCfeS CAMERON
               Title:.     President



               By:
               Name-^Sj 'F FORTl§
               ria=(^ —Ssasiflg.


                                                  SHAREHOLDERS

        ROSS CAMEI

        Br,
        Name: RdSS CAMERON
                                                                     l~-     r,/,„
        Residence Address:—jS}?                                    V'          > vT

        JEFF FORT1S

        By:.
        Ni
                 ±L   FORTIfr(Je4Dj6y Fortio Family Trust)
        Residence Address:



        ALEX fo;

        By:.
        Namo: ALIiX FORtlS (A)tx Portia Family Trust)
        Residence Address:




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                   SPOUSAL CONSENT TO SHAREHOLDER
                                                  AGREEMENT




 I am the spouse of
                                                    , a shareholder of NEWFANE DESIGN, INC.
                                                                                            I
 acknowledge that I have read the Shareholder
                                              Agreement ("Agreement") dated
                                                                                  by and
 between my spouse (amongst others) and NEW
                                                 FANE DESIGN, INC., a Vermont corporation
("Company"), and that I clearly understand
                                           its provisions. I am aware that by the provis
                                                                                          ions of the
Agreement, my spouse has agreed to sell or
                                           transfer all his or her interest in the Company,
                                                                                            including
any community property interest, in accordance
                                               with the terms and provisions of the Agreement.
                                                                                               I
hereby expressly approve of, and agree to be bound
                                                   by, the provisions of the Agreement in its entirety,
including but not limited to, those provisions relatin
                                                       g to the sales and transfers of the interest in the
Company. If I predecease my spouse when
                                        my spouse owns an interest in the Company,
                                                                                   I hereby
agree not to devise or bequeath whatever
                                         community property interest I may have in
                                                                                   the Company (if
any) in contravention of this Agreement.




Date: RJA /AQ'^
Signature of

Print Name:                                  Vi)




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                                                    Exhibit A

                      IRREVOCABLE PROXY COUPLED
                                                WITH AN INTEREST



     RECITALS



 A.     Pursuant to the terms of that certain Share
 "Agreement"), the undersigned desires to
                                                     holder Agreement, dated as of
                                            execute this "Irrevocable Proxy": (i) so that
                                                                                           slim b      (the
 the undersigned refuses or is unable to                                                  in the event that
                                            vote his or her shares as required under
 Agreement, the person holding the title of                                             Section 2 of the
                                            Chief Executive Officer of NEWFANE DES
 "Company"), from time to time (the                                                        IGN, INC. (the
                                    "CEO"), can exercise all voting and
                                                                        consent rights associated
 with    the shares of the Company's stock held
                                                by the undersigned to YOtc such share
                                                                                   s as required by
 Section 2 of the Agreement; and (ii) to appo
                                              int the CEO as irrevocable proxyholder pursu
 terms set forth herein.                                                                   ant to the



 IRREVOCABLE PROXY



 1.       The undersigned hereby revokes all previous proxies and appoints the CEO as proxy
 vote the undersigned's shares as required                                                    holder to
                                           by Section 2 of the Agreement on or after
 this Irrevocable                                                                    the date of giving
                 Proxy and prior to the termination of this
                                                            Irrevocable Proxy, with the same effect
 the undersigned had personally voted his                                                           as if
                                          or her shares.

 2.     The undersigned authorizes and direc
                                                 ts the proxyholder to file this Irrevo
 appointment with the secretary of the Com                                              cable Proxy
                                           pany.

3.        This Irrevocable Proxy is coupled with
                                                 an interest and is irrevocable   (to the fullest extent
permitted by law); provided however
                                    that the CEO shall not be entitled to exerc
                                                                                ise his or her authority
under this Irrevocable Proxy unless and until
                                               the undersigned refuses or is unable to vote
shares as required under Section 2 of the Agree                                             his or her
                                                ment.

4.     This Irrevocable Proxy Is given pursu
                                                  ant to Vermont law to secure the
performance of its obligations under the                                                undersigned's
                                          Agreement and will remain irrevocable
                                                                                until such time as the
undersigned is no longer bound by the
                                       terms of the Agreement.

5.       If this Irrevocable Proxy is held invalid
                                                   or unenforceable, the intent of the partie
                                                                                              s shall govern.


This Proxy may not be assigned or otherwise
                                            transferred, and any purported assignment
this provision shall be void.                                                         in violation of
                                   Notwithstanding the foregoing, any oblig
                                                                           ation of the undersigned
hereunder shall be binding upon the successors
                                               and assigns of the undersigned.


Dated:



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                   f
PrintName:       Kn?s   Cu/r\a*Z^



Number and Description 6f Shares:
                                                     (    ) Shares of Common Stock
                                      \00\
     \^0<                            tfGA.        Je.£f
             Slaovre$                 77          A)eA

                                    1 5^ 5/z^/vs




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                                   NEWFANE DESIGN, INC.
                 AMENDMENT NO. 1 TO SHAREHOLDER AGREEMENT


The Shareholder Agreement dated as of August 8, 20 16 by and among NEWFANE DESIGN, INC.
and the undersigned Shareholders is hereby amended, effective as of December 15, 2017, as
follows:


1.     The Company has been reincorporated in Delaware with a new name, "Warrior Trading,
        Inc." The Company has retained, and continues to operate under, its existing Federal
        Employer Identification Number (XX-XXXXXXX). All references to the Company in this
       Agreement refer to Warrior Trading, Inc., a Delaware corporation, where applicable.


2.      Section 2 of the Agreement is amended to read in its entirety as follows:


       "2.     Election of Directors. Pursuant to the Certificate of Incorporation (the "Articles")
       and Bylaws of the Company the number of directors to comprise the Company's Board of
       directors (the "Board") will be that number mutually agreed by the Shareholders, subject
        to the provisions of Section 2.a. and 2.b. below. Each Shareholder hereby agrees that from
        and after execution of this Agreement and until the termination of this Agreement, each
        Shareholder will vote all shares of the capital stock of the Company which are voting shares
        and any other voting securities of the Company over which such Shareholder has voting
        control or are owned by such Shareholder beneficially or of record, on the record date fixed
        for a determination of those Shareholders entitled to vote in any election of directors of the
        Company, or will cause such shares to be voted and shall take all other necessary or
        desirable actions within such Shareholders' control (including in his or her capacity as a
        shareholder, director, member of a board committee or officer of the Company or
        otherwise, and including, without limitation, attendance at meetings in person or by proxy
        for purposes of obtaining a quorum and execution of written consents in lieu of meetings),
        and the Company shall take all necessary or desirable actions within its control (including,
       without limitation, calling special Board and Shareholder meetings), so that:


               a.      The authorized number of directors on the Board be established and remain
                       at a number mutually agreed by the Shareholders;


               b.      Ross Cameron shall have the right to nominate and appoint two-thirds of
                       the directors constituting the Board, and (ii) Jeff Fortis shall have the right
                       to nominate and appoint one-third of the directors constituting the Board.


3.     The first two sentences of Section 14.g of the Agreement are amended to read in their
entirety as follows:


       "g.     Governing Law. Jurisdiction and Venue. The laws of the State of Delaware shall
       govern the terms of this Agreement without reference to the choice of law principles
       thereof. Any controversy or claim arising out of or relating to this Agreement, or breach
       thereof, shall be settled by binding arbitration to be held in Delaware or such other agreed
       location."



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4.      In all other respects the Agreement shall remain unchanged.        This Amendment may be
executed in multiple counterparts, each of which will be deemed an original, and all of which
together will constitute one and the same document.


                                   [Signature page follows]


COMPANY:                                              SHAREHOLDERS:


NEWFANE DESIGN, INC.                                  ROSS CAMERON


By:                                                   By:
        Ross Cameron                                           Ross Cameron
Its President


                                                      JEFF FORTIS


By:                                                   By:
        Jeff Fortis                                         Jeff Fortis (Jeffrey Fortis Family Trust
Its Secretary



                                                      ALEX FORTIS


                                                      By:
                                                            Alex Fortis (Alex Fortis Family Trust




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            thereof, shall be settled by bin-ding arbitration
                                                              to be held in Delaware or such -other agreed
            location."

  4.      fn all other respects the Agreement shall remai
                                                          n unchanged. This Amendment may be
  cxecutccE in multiple counterparts, each of which
                                                     will be deemed an original, and all of which
  together will constitute one and the same docum
                                                  ent.


                                         [Signature page follows]

  COMPANY:
                                                          SHAREHOLDERS:
  NEWFAN'H D3-S;0'NyX'C.
                                                          ROSSC^MERphv

  By:                                                              /
                                                          By: _J
                 is Cameron
                                                                   Rotfe Cameron
 Its President

                  /
              *
                                                         JEFF FORT]
             x


 By;.
        f/ScfT Fori is
                                                         By:           £Ja
                                                               Jeff Kmis (Jeffrey Fftrt1$ Family Tnwi
 Its ^enrtary




                                                         ALEX FOKT/S

                                                         By:
                                                               Alex Fartis (Xlcx Forti.s/Fnmily Trust




Amda2Sl i Agmi
